                Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 1 of 35 Page ID #:10



                          1 CHRISTOPHER C. JEW (State Bar No. 302193)
                              cjew@kslaw.com
                          2 KING & SPALDING LLP
                              633 West Fifth Street
                          3 Suite 1600
                              Los Angeles, CA 90071
                          4 Telephone: +1 213 443 4355
                              Facsimile: +1 213 443 4310
                          5
                              Attorney for Defendant
                          6 DAVID RAYMOND DIXON, JR.

                          7

                          8                           UNITED STATES DISTRICT COURT
                          9                      CENTRAL DISTRICT OF CALIFORNIA
                         10

                         11 JACLYN MARIA STARLING                     Case No.
                            DIXON, an individual,
                         12              Plaintiff,                   DECLARATION OF DAVID DIXON IN
                                                                      SUPPORT OF NOTICE OF REMOVAL
                         13     v.                                    OF ENTIRE ACTION
                         14   DAVID RAYMOND DIXON, JR.,
                              an individual; and DOES 1-10,           Removed from Superior Court of
                         15                                           California, Los Angeles County,
                                            Defendant.
Los Angeles, CA 90071
 633 West Fifth Street




                                                                      21STCV33152
 King & Spalding LLP




                         16
      Suite 1600




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                                   DECLARATION OF DAVID DIXON IN SUPPORT OF NOTICE OF REMOVAL OF ENTIRE ACTION
                Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 2 of 35 Page ID #:11



                          1                           DECLARATION OF DAVID DIXON
                          2   I, David Dixon, state and declare as follows:
                          3         1.       I have personal knowledge of all facts stated in this declaration, and if
                          4   called to testify, I could and would testify competently thereto. I submit this
                          5   declaration in support of my Notice of Removal of Entire Action.
                          6         2.       I am an active duty Marine Officer in the United States Marine Corps
                          7   and have been since 2003. My current rank is Lieutenant Colonel.
                          8         3.       My home of record for the Marine Corps and the Department of
                          9   Defense is, and has always been, 6531 Brentfield Court, Dallas, Texas, 75248.
                         10         4.       I was first ordered to active duty from the state of Texas after my
                         11   graduation from Texas A&M University in College Station, Texas. I was ordered to
                         12   report to Marine Corps Officer Candidate School in Quantico, Virginia in January
                         13   2003. Attached as Exhibit A is a true and correct copy of my application for
                         14   Officer Programs, my original application for enlistment in the Armed Forces, and
                         15   my original military orders notifying me of my selection for the Officer Candidate
Los Angeles, CA 90071
 633 West Fifth Street
 King & Spalding LLP




                         16   Course Program and assignment to active duty, redacted for personal identifiable
      Suite 1600




                         17   information.
           ,




                         18         5.       I am registered to vote in Texas at my permanent address of 6531
                         19   Brentfield Court, Dallas, Texas, 75248. Attached as Exhibit B is a true and correct
                         20   copy of my Texas voter registration and absentee ballot request and my Texas voter
                         21   registration card, redacted for personal identifiable information.
                         22         6.       The plaintiff, Jaclyn – who I filed for divorce from on January 2, 2020
                         23   - and I were married in Dallas, Texas on 11 August 2012. Attached as Exhibit C is
                         24   a true and correct copy of our Texas marriage license.
                         25         7.       My driver’s license is from Texas at my permanent address of 6531
                         26   Brentfield Court, Dallas, Texas, 75248. This has been the address on my driver’s
                         27   license since I turned 16 and could legally drive in 1995. Attached as Exhibit D is
                         28

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                                  DECLARATION OF DAVID DIXON IN SUPPORT OF NOTICE OF REMOVAL OF ENTIRE ACTION
                Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 3 of 35 Page ID #:12



                          1   a true and correct copy of my current driver’s license, redacted for personal
                          2   identifiable information.
                          3         8.     My address for tax purposes with the IRS on every tax return I have
                          4   ever filed is my permanent address of 6531 Brentfield Court, Dallas, Texas, 75248.
                          5   Attached as Exhibit E are true and correct copies of IRS Form 1040 from my 2019
                          6   and 2020 tax returns prepared by Certified Public Accountant Geoff Broyles,
                          7   redacted for personal identifiable information and financial information
                          8         9.     My vehicle (2007 Toyota 4 Runner) is registered in Texas. Attached
                          9   as Exhibit F is a true and correct copy of my current vehicle registration.
                         10         10.    The small business that I own and operate, Callsign Enterprises LLC,
                         11   is registered in Texas at my permanent address of 6531 Brentfield Court, Dallas,
                         12   Texas, 75248. For that matter, the business that Jaclyn owns and operates, VLX
                         13   International LLC, is also registered at the same address, 6531 Brentfield Court,
                         14   Dallas, Texas, 75248. I am a Registered Agent of her business, VLX International.
                         15   Both Jaclyn and I incorporated our businesses in 2014 with the state of Texas.
Los Angeles, CA 90071
 633 West Fifth Street
 King & Spalding LLP




                         16   Attached as Exhibit G are true and correct copies of the Certificate of Filing for
      Suite 1600




                         17   Callsign Enterprises from the Texas Secretary of State, the current Public
           ,




                         18   Information Reports from the Texas Comptroller of Public Accounts for Callsign
                         19   Enterprises LLC and VLX International LLC, and the current Franchise Tax
                         20   Account Status for VLX International LLC.
                         21         11.    I am on orders as an active-duty Marine to the Department of
                         22   Homeland Security in Washington, DC. Per my military orders, I left California on
                         23   19 July 2021 and I checked into my new command in Washington DC on 27 July
                         24   2021. As such, I currently live in Arlington, VA at 3936 North Upland, Arlington,
                         25   VA 22207. Attached as Exhibit H is a true and correct copy of my current military
                         26   orders dated 19 July 2021 that detached me from the state of California and moved
                         27   me to Washington DC, redacted for personal identifiable information.
                         28

                                                                         3
                                  DECLARATION OF DAVID DIXON IN SUPPORT OF NOTICE OF REMOVAL OF ENTIRE ACTION
                Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 4 of 35 Page ID #:13



                          1         12.      I have never had any intention of living in California permanently or
                          2   being a citizen of California. I have only ever lived in California while on active
                          3   duty orders.
                          4         13.      I was personally served this lawsuit at my home in Arlington, VA on
                          5   18 September 2021.
                          6

                          7         I declare under penalty of perjury under the laws of the United States that the
                          8   foregoing is true and correct and that this declaration was executed on October 18,
                          9   2021 at Arlington, VA.
                         10

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                                                                              DAVID R. DIXON
                         13

                         14

                         15
Los Angeles, CA 90071
 633 West Fifth Street
 King & Spalding LLP




                         16
      Suite 1600




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                                  DECLARATION OF DAVID DIXON IN SUPPORT OF NOTICE OF REMOVAL OF ENTIRE ACTION
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 5 of 35 Page ID #:14




                             Exhibit A
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 6 of 35 Page ID #:15
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 7 of 35 Page ID #:16
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 8 of 35 Page ID #:17
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 9 of 35 Page ID #:18




                               Exhibit B
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 10 of 35 Page ID #:19
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 11 of 35 Page ID #:20
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 12 of 35 Page ID #:21
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 13 of 35 Page ID #:22




                           Exhibit C
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 14 of 35 Page ID #:23
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 15 of 35 Page ID #:24
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 16 of 35 Page ID #:25




                               Exhibit D
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 17 of 35 Page ID #:26
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 18 of 35 Page ID #:27




                            Exhibit E
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 19 of 35 Page ID #:28
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 20 of 35 Page ID #:29
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 21 of 35 Page ID #:30
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 22 of 35 Page ID #:31
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 23 of 35 Page ID #:32




                           Exhibit F
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 24 of 35 Page ID #:33
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 25 of 35 Page ID #:34




                         Exhibit G
Case  2:21-cv-08257-RGK-SHK
Corporations Section        Document 1-1 Filed 10/18/21 Page 26 of 35Nandita
                                                                       Page ID #:35
                                                                             Berry
P.O.Box 13697                                                                                            Secretary of State
Austin, Texas 78711-3697




                                  Office of the Secretary of State

                                       CERTIFICATE OF FILING
                                                OF

                                           Callsign Enterprises LLC
                                             File Number: 801917486


The undersigned, as Secretary of State of Texas, hereby certifies that a Certificate of Formation for the
above named Domestic Limited Liability Company (LLC) has been received in this office and has been
found to conform to the applicable provisions oflaw.

ACCORDINGLY, the undersigned, as Secretary of State, and by virtue of the authority vested in the
secretary by law, hereby issues this certificate evidencing filing effective on the date shown below.

The issuance of this certificate does not authorize the use of a name in this state in violation of the rights
of another under the federal Trademark Act of 1946, the Texas trademark law, the Assumed Business or
Professional Name Act, or the common law.



Dated: 01/17/2014

Effective: 01/17/2014




                                                                                        Nandita Berry
                                                                                        Secretary of State




                                 Come visit us on the internet athttp://www.sos.state.tx.us/
Phone: (512) 463-5555                               Fax: (512) 463-5709                      Dial: 7-1-1 for Relay Services
Prepared by: Jennifer Williams                          TID: 10306                              Document: 525387090002
       Case
10/13/21,       2:21-cv-08257-RGK-SHK
          1:44 PM                                    Document 1-1 Public
                                                                    Filed    10/18/21
                                                                         Information Report Page 27 of 35 Page ID #:36



                                                  Public Information Report
                                                       Public Information Report
                                                     CALLSIGN ENTERPRISES LLC
                                                           Report Year :2019



Information on this site is obtained from the most recent Public Information Report (PIR) processed by the Secretary of
State (SOS). PIRs filed with annual franchise tax reports are forwarded to the SOS. After processing, the SOS sends the
Comptroller an electronic copy of the information, which is displayed on this web site. The information will be updated as
changes are received from the SOS.

You may order a copy of a Public Information Report from open.records@cpa.texas.gov or Comptroller of Public
Accounts, Open Records Section, PO Box 13528, Austin, Texas 78711.



       Title                              Name and Address
                      DAVID R DIXON JR
 PRESIDENT
                      6531 BRENTFIELD COURT DALLAS, TX 75248
                      DAVID R DIXON JR
 DIRECTOR
                      6531 BRENTFIELD COURT DALLAS, TX 75248




https://mycpa.cpa.state.tx.us/coa/coaSearchBtn#                                                                          1/1
       Case
10/12/21,       2:21-cv-08257-RGK-SHK
          4:29 PM                                    Document 1-1 Public
                                                                    Filed    10/18/21
                                                                         Information Report Page 28 of 35 Page ID #:37



                                                  Public Information Report
                                                       Public Information Report
                                                       VLX INTERNATIONAL LLC
                                                           Report Year :2018



Information on this site is obtained from the most recent Public Information Report (PIR) processed by the Secretary of
State (SOS). PIRs filed with annual franchise tax reports are forwarded to the SOS. After processing, the SOS sends the
Comptroller an electronic copy of the information, which is displayed on this web site. The information will be updated as
changes are received from the SOS.

You may order a copy of a Public Information Report from open.records@cpa.texas.gov or Comptroller of Public
Accounts, Open Records Section, PO Box 13528, Austin, Texas 78711.



       Title                              Name and Address
                      JACKIE DIXON
 DIRECTOR
                      13702 PINNACLE ST WOODBRIDGE, VA 22191
                      JACKIE DIXON
 PRESIDENT
                      13702 PINNACLE ST WOODBRIDGE, VA 22191




https://mycpa.cpa.state.tx.us/coa/coaSearchBtn#                                                                          1/1
       Case
10/12/21,       2:21-cv-08257-RGK-SHK
          4:27 PM                                        Document 1-1   Filed
                                                                  Franchise     10/18/21
                                                                            Tax Account         Page 29 of 35 Page ID #:38
                                                                                        Status Help




                                                       Right to Transact Business in Texas

         Right to transact business in Texas indicates an entity's franchise tax account status.

         If Right to Transact               Then...
         Business is...

         Active                             The entity's right to transact business in Texas is intact.

         Active, Eligible for               The entity has met franchise tax requirements to file for termination or
         Termination/Withdrawal             withdrawal with the Texas Secretary of State.

         Forfeited                          The entity's right to transact business in Texas is forfeited .

         Not Established                    The entity has not completed a franchise tax accountability questionnaire with
                                            the Comptroller.

         Franchise Tax Ended                The entity's franchise tax responsibilities ended because the entity has ceased
                                            to exist in its state or country of formation or has ceased doing business in
                                            Texas.

         Franchise Tax                      The entity's registration or certificate was ended as a result of a tax forfeiture or
         Involuntarily Ended                an administrative forfeiture by Texas Secretary of State.


       Additional help




https://mycpa.cpa.state.tx.us/coa/RightToTransit.jsp                                                                                1/1
       Case
10/12/21,       2:21-cv-08257-RGK-SHK
          4:28 PM                                    Document 1-1 Franchise
                                                                    Filed Search
                                                                            10/18/21
                                                                                 Results Page 30 of 35 Page ID #:39



                                                                  



                                              Franchise Tax Account Status
                                                       As of : 10/12/2021 15:14:04



   This page is valid for most business transactions but is not sufficient for filings with the Secretary of State



                                                  VLX INTERNATIONAL LLC
                      Texas Taxpayer Number 32053045293
                                  Mailing Address 6531 BRENTFIELD CT DALLAS, TX 75248-2273
          Right to Transact Business in FRANCHISE TAX INVOLUNTARILY ENDED
                                  Texas Request tax clearance to reinstate entity
                              State of Formation TX
          Effective SOS Registration Date 02/14/2014
                       Texas SOS File Number 0801922638
                      Registered Agent Name DAVID RAYMOND DIXON JR
        Registered Office Street Address 6531 BRENTFIELD CT DALLAS, TX 75248




https://mycpa.cpa.state.tx.us/coa/coaSearchBtn#                                                                       1/1
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 31 of 35 Page ID #:40




                              Exhibit H
Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 32 of 35 Page ID #:41




                               UNITED STATES MARINE CORPS
                       MARINE AIR GROUND TASK FORCE TRAINING COMMAND
                           MARINE CORPS AIR GROUND COMBAT CENTER
                                      P.O. BOX 788200
                             TWENTYNINE PALMS, CALIFORNIA 92278
                                                                                 IN REPLY REFER TO :
                                                                                 1326
                                                                                 lC
                                                                                 19 Jul 21
     FIRST ENDORSEMENT on CMC Washington DC Basic Orders of 5 March 2021
     From:   Commanding General
     To:     Lieutenant Colonel David R. Dixon, Jr.                          USMCR
     Subj:   PERMANENT CHANGE OF STATION ORDERS
     1. Delivered. Effective 0800, 19 July 2021 you will stand detached from your
     present station and duties and report by 2359, 27 July 2021 to COMMANDING
     OFFICER, STUDENT FELLOWSHIP SCHOLARSHIP/GRANTS, 1775 MASSACHUSETTS AVE NW,
     WASHINGTON, D. C 20036 (MCC J59) for duty. Your actual assignment location for
     this tour of duty will be Washington, D.C 20340.
     2. You are authorized O day(s) proceed, o day(s) PDMRA, 0 day(s) delay
     chargeable as annual leave, and 8 day(s) travel via Private Vehicle in
     reporting to your new duty stat.i on. Y01.1r projected leave balance upon
     completion of authorized d :-:J.::, ~-· ~-8 P~: .5 day ( s) accrued. Your dependents
     authorized travel under the s e o ~~~ ~s are :

              Dependent Name                       Relationship      DOB/Gain
              JACLYN M. DIXON                      (SP)
              JULIETTE V. DIXON                    (LD)
              DONAVAN V. DIXON                     (LS)
              and no others
     3. sh·o uld an emergency aris ,.:: ;,n,d you determine that more leave is required,
     contact your new command. Your request must include the reason, number of
     days requested, leave address , telephone number and your leave balance. You
     have given the person to be notified in case of emergency as: DAVE R. DIXON
     SR. (FATHER); address as : 6531 Brentfield Court, Dallas, Texas 75248;
     telephone number: 972-880-5674. Any change of leave address shall be reported
     to the Commanding Officer of your new duty station.
      4. Before making any rental or lease agreements or purchasing a home, you
      will report to the local military family housing office at your new duty
      station. You will submit your travel claim to the disbursing officer at your
      new duty station within 5 days after completion of travel to settle travel
      expenses. Failure to comply will result in your pay account being checked for
      your travel advance. Additionally, elapsed time will be charged as leave if
      your travel claim has not been submitted to the disbursing officer within 30
      days after completion of travel under these orders.
      5. Your estimated travel entitlement is $5,525.00 based on MCTFS data at the
      time the order was issued. It does not include any adjustments based on your
      outbound interview answers. Limit your GTCC use to no more than 80% of this
      amount. If traveling on Government procured transportation your reimbursement
      amount will be lower than this estimate . The actual amount of final
      entitlements will be computed upon settlement of your travel claim. Also at
      the time of settlement you are required to split disburse all charges placed
      on your card during your PCS move. Any GTCC use outside of PCS entitlements
      constitutes misuse. Contact your APC for any GTCC related questions and your
       supporting personnel administrative center for any PCS entitlement questions.




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         Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 33 of 35 Page ID #:42
               - - - - - - - -- ---~--~~=..___~~-


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               Subj:    PERMANENT CHANGE OF STATION ORDERS
               Your estimated travel entitlements are as follows:

                                            Travel Allowance Estimates
                                   Member Military Air Commercial Travel:                                          $1,286 . 00
                                                         Member Per Diem:                                            $500 . 00
                                                Member Mileage Allowance:                                              $0.00
                            Family Member Military Air Commercial Travel:                                              $0.00
                                                  Family Member Per Diem:                                              $0.00
                                                   Dislocation Allowance:                                          $3,739.00

                                                       Member Total Allowances:                                    $5,525.00
                                                Family Member Total Allowances:                                        $0.00

               6 . A Temporary Lodging Exp~ns e (TLE) allowance is authorized for a total of
               10 days (or 5 days, if from a P,:nmanent Duty Station (PDS) in CONUS to a PDS
               outside CONUS) in connection wit h permanent change of station . These
               temporary lodgings must be in f ac t a t e mpcr3. r y place of residence, acquired in
               the vicinity of your old or r~w ~DS or bot h. You should try to obtain
               government quarters fi.n, t . ·;:"' .;•1 <2 i ..L?-. :O ~ . , . -. -.:>1.' 11·,,,s t obtain a statement of non-
                                                                             1

               availability from the lo.:::..i i: ~· 1-:11 . '. ·,ael'." , it· ::-.: .,,:- .,.c·t end to claim TLE. If your
               old or new PDS where the '!''...-/ ·•. •.", .nc,: :: :--,,-~ .. •- :,,.:, located at a post, camp,
               station, base, or depot c:· :. :                   s ~.:·, c: .- : :::,-- :.;r metropolitan area, the
               statement of non-availablit.,, ..~ r,,_, t 1: E: · (. ·. .:.:.ec·.
               7 . Upon arrival at your new d~: ... i' ntation you are required to recertify your
               entitlement to BAH within 30 days of joining the command per reference(s) .
               8. You are further advise1 t ha t ~n ~~ ~0r ~~ "~ ~ ~i th MCO 1000.6 you may be
               eligible for 10 days permi1.;:;. :.. ,·:. ·;·,:.', : ::,::.;e .nu nti r,g, upon arrival to your new
               duty station.
               9. For emergency medical care while traveling go to the nearest emergency
               room and contact your Primary Care Manager (PCM) or Tricare Regional
               Representative within 24 hours in order to notify Tricare that services have
               been received. For non-emergency, urgent or routine care please contact your
               present Tricare Region as these items may require a referral from your PCM. It
               is recommended that all routine care be completed prior to detaching from your
               current command. A list of Tricare regions, resources and guidance on
               obtaining care while en route is available at:
               http : //tricare.mil/GettingCare/Traveling.aspx or by calling 1-800-TRICARE
                (874-2273).
               10 . TRAVEL FUNDING DETAILS
               CIC: 67000221CTB4L98
               COST CODE: 000000000000
               SDN:M7000221CTB4L98
I                                                                      Digitally signed for authenticity with a trusted DOD Certificate on
II                                                                     behalf of:
I
                                                                       Civ Vasquez, John C (EDIPI : 1168525571)
                                                                       Mon Jul 19 08:24:58 CDT 2021




l
                                                                      J.C. VASQUEZ
                                                                      By direction




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Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 34 of 35 Page ID #:43




     Subj:   PERMANENT CHANGE OF STATION ORDERS
     RECEIVING ENDORSEMENT
     1. I have read and understand the contents of my orders. I received these
     orders at Twentynine Palms, California 92278 on 19 July 2021. I understand
     that I am to report no later than 2359, 27 July 2021, to COMMANDING OFFICER,
     STUDENT FELLOWSHIP SCHOLARSHIP/GRANTS, 1775 MASSACHUSETTS AVE NW, WASHINGTON,
     D.C 20036 (MCC J59) for duty. I have in my possession my medical and dental
     records. Your actual assignment location for this tour of duty will be
     Washington, D.C 20340.


                                         9.__ Q_       Q_/
                                                D.R. DIXON JR.




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                                                                                     ____J
              Case 2:21-cv-08257-RGK-SHK Document 1-1 Filed 10/18/21 Page 35 of 35 Page ID #:44



                          1                             CERTIFICATE OF SERVICE
                          2   I hereby certify that on Oct. 18, 2021, the foregoing was electronically filed
                          3   with the Clerk of the Court using the CM/ECF system. I further certify that a
                          4   true and correct copy of the foregoing was served by email and by U.S. Mail,
                          5   postage prepaid, this 18th day of October 2021, on the following:
                          6
                                Andrew B. Brettler                           Attorneys for Plaintiff
                          7     Jake A. Camara                               JACLYN MARIA STARLING DIXON
                                LAVELY & SINGER
                          8
                                PROFESSIONAL
                          9     CORPORATION
                                2049 Century Park East, Suite 2400
                         10
                                Los Angeles, Califomia 90067-2906
                         11     Tel: (310) 556-3501
                                Fax: (310) 556-3615
                         12
                                Email: abrettler@lavelysinger.com
                         13               jcamara@lavelysinger.com
                         14

                         15                                                  ____________________________
                                                                             Ann Kurke
Los Angeles, CA 90071
 633 West Fifth Street
 King & Spalding LLP




                         16
      Suite 1600




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                                  DECLARATION OF DAVID DIXON IN SUPPORT OF NOTICE OF REMOVAL OF ENTIRE ACTION
